                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF IOWA
                               CENTRAL DIVISION

 UNITED STATES OF AMERICA,                      )
                                                )
                           Plaintiff,           )   No. CR23-3038-LTS-KEM
                                                )
               vs.                              )
                                                )
 TYLER NICHOLAS MERIWEATHER,                    )
                                                )
                           Defendant.           )


               GOVERNMENT’S SENTENCING MEMORANDUM

I.      WITNESSES

        The government does not plan to call any witnesses.

II.     EXHIBITS

        The government does not intend to offer any exhibits.

III.    ISSUES

        The only contested sentencing guideline issue outlined in the final

presentence report (PSR) was the base offense level. (PSR ¶ 22). The PSR scored

the base offense level at 14, while the government contended the evidence

supported a base offense level of 20 pursuant to USSG §2K2.1(a)(4)(B).        The

parties have met and conferred and agree the appropriate base offense level is 20.

After application of a two-level enhancement for the offense involving three

firearms (PSR ¶ 23), and a three-level reduction for acceptance of responsibility

(PSR ¶¶ 29-30), the total offense level is now 19. With a criminal history category

I, the sentencing guideline range is 30 to 37 months’ imprisonment.




       Case 3:23-cr-03038-LTS-KEM Document 81 Filed 09/10/24 Page 1 of 2
        Regarding sentencing, the parties have agreed to make a non-binding

recommendation of 30 months’ imprisonment followed by one year term of

supervised release. There was no agreement to a fine, if any.

        Finally, the parties agree defendant breached the plea agreement by

committing a new law violation (theft) while on release pending sentencing.

(Dkts. 42 at ¶25, ¶26; 69, 80). However, the parties wish to proceed with the plea

agreement with its original terms. At this time, the government still intends to

make a motion for a third level of reduction for acceptance of responsibility

pursuant to USSG §3E1.1(b).

IV.     CONCLUSION

        A sentence of 30 months’ imprisonment followed by one year of supervised

release is appropriate and not greater than necessary.



                                               TIMOTHY T. DUAX
                                               United States Attorney
       CERTIFICATE OF SERVICE
                                               By: /s/ Patrick T. Greenwood
 I certify that I electronically served a
 copy of the foregoing document to which
 this certificate is attached to the parties
                                               PATRICK T. GREENWOOD
 or attorneys of record on September 10,       Assistant United States Attorney
 2024.                                         600 Fourth Street, Suite 670
        UNITED STATES ATTORNEY                 Sioux City, IA 51101
                                               (712) 255-6011
 BY:    s/Jean Wordekemper
                                               (712) 252-2034 (fax)
                                               Patrick.Greenwood@usdoj.gov




                                                 2




       Case 3:23-cr-03038-LTS-KEM Document 81 Filed 09/10/24 Page 2 of 2
